     Case 8-20-08140-reg            Doc 9      Filed 02/16/21         Entered 02/16/21 14:04:31




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                               )
                                                     ) Chapter 11
DÉCOR HOLDINGS, INC. et. al1                         )
                                                     ) Case No. 19-71020 (REG)
                  Debtors.                           )
                                                       (Jointly Administered)

BRYAN RYNIKER, in his capacity as                    )
Litigation Administrator of the Post-                ) Adv. Proc. No. 8-20-08140 (REG)
Confirmation Estates of the Décor                    )
Holdings, Inc., et. al.                              )
                                                     ) Hearing Date: Mar. 24, 2021 at 10:00 am.
                  Plaintiff,                         )
                                                     )
v.                                                   )
                                                     )
VALDESE WEAVERS LLC                                  )

                  Defendant.



                                                ANSWER

         Defendant Valdese Waavers (the “Defendant” or “Valdese”), by and through

Olshan Frome Wolosky LLP, its counsel, for this answer (the “Answer”) to the

Complaint (the “Complaint”) states as follows:




1
  The debtors (Debtors) in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number are: Décor Holdings, Inc. (4174), Décor Intermediate Holdings, LLC (5414); RAD
Liquidation Inc. (f/k/a The Robert Allen Duralee Group) (1798); and RADF LLC (f/k/a The Robert Allen
Duralee Group Furniture, LLC) (2838) Holdings LLC (5414)


5719569-1
   Case 8-20-08140-reg        Doc 9     Filed 02/16/21      Entered 02/16/21 14:04:31




                              NATURE OF THE ACTION

        1.     Denies that the transfers identified on Exhibit A of the Complaint (the

“Transfers”) are avoidable, denies that the Plaintiff has any right of recovery against the

Defendant, denies knowledge sufficient to form a belief as to the extent of the relief

sought by Plaintiff, and avers that the remainder of Paragraph 1 of the Complaint is

comprised of unsupported statements and putative legal conclusions for which no

response is required.

        2.     Denies that the Transfers are avoidable and that the Plaintiff has any right

of recovery or right to disallow as filed the claims of the Defendant, and denies

knowledge sufficient to form a belief as to the extent of the relief sought by Plaintiff.

                             JURISDICTION AND VENUE

        3.     Admits to Paragraph 3 and 4.

        4.     Subject and without waiver to Defendant’s Constitutional right to a jury

trial to be conducted by an Article III Court, admits to Paragraph 5.

                            BACKGROUND AND PARTIES

        5.     Admits to Paragraph 6,7, 8, 9, 10, and 11.

        6.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 12 of the Complaint.

        7.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 13 of the Complaint expect that post-petition

Valdese did transact business with the Debtor but any such business was done in

accordance with mutually agreed upon and normal business terms.

        8.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 14 of the Complaint.
                                             2

5719569-1
   Case 8-20-08140-reg         Doc 9     Filed 02/16/21     Entered 02/16/21 14:04:31




        9.       Denies to Paragraph 15.

     COUNT I – TO AVOID PREFERENTIAL TRANSFERS PURSUANT TO
                          11 U.S.C. § 547(b)

        10.      Restates its responses to the cross-referenced allegations in paragraphs 1-9

of the Answer.

        11.      Admits to Paragraph 16 as to amounts received.

        12.      Admits to Paragraph 17 and 18.

        13.      Denies that the Transfers constitutes “Avoidable Transfers,” admits that

the Transfer was made in satisfaction of monies due and payable to the Defendant by the

Debtors, avers that Paragraph 19 calls for a legal conclusion for which no response is

required and otherwise denies knowledge or information sufficient to form a belief as to

the contents of the Debtors’ books and records.

        14.      Denies that the Transfer constitutes an “Avoidable Transfer,” and further

denies knowledge sufficient to form a belief as to the Debtors’ solvency as of the time of

the Transfer, and avers that the remainder of Paragraph 20 of the Complaint forms a legal

conclusion for which no response is required.

        15.      Denies knowledge sufficient to form a belief as to the truth of the

allegations contained in Paragraph 21 of the Complaint and it calls for conclusion of law.

        16.      Denies Paragraph 22.

                                           COUNT II

        17.      Restates its responses to the cross-referenced allegations in paragraphs 1-

16 of the Answer.

        18.      Denies that the Transfers constitutes “Fraudulent Transfers,” admits that

the Transfers was made in satisfaction of monies due and payable to the Defendant by the

                                               3

5719569-1
   Case 8-20-08140-reg         Doc 9     Filed 02/16/21     Entered 02/16/21 14:04:31




Debtors, in accordance with good and merchandise shipped, invoiced and received by the

Debtors and paragraph 24 calls for a legal conclusion for which no response is required

and otherwise denies knowledge or information sufficient to form a belief as to the

contents of the Debtors’ books and records.

        19.      Denies that the Transfer constitutes “Fraudulent Transfers,” and avers that

the remainder of Paragraph 20 of the Complaint forms a legal conclusion for which no

response is required.

        20.      Denies that the Transfer constitutes “Fraudulent Transfers,” and avers that

the remainder of Paragraph 21 of the Complaint forms a legal conclusion for which no

response is required

                                         COUNT III

        21.      Restates its responses to the allegations in paragraph 1 - 21 of the Answer.

        22.      Denies that any payments, transfer or charges were unauthorized or

overcharges and assert that any and all payments received were with the agreed upon

invoice terms.

        23.      Denies that the Transfers constitutes “Overcharges,” but admits that the

Transfers was made in satisfaction of monies due and payable to the Defendant by the

Debtors, avers that Paragraph 28 calls for a legal conclusion for which no response is

required and otherwise denies knowledge or information sufficient to form a belief as to

the contents of the Debtors’ books and records.




                                              4

5719569-1
   Case 8-20-08140-reg        Doc 9    Filed 02/16/21     Entered 02/16/21 14:04:31




    COUNT IV – TO RECOVER AVOIDABLE TRANSFERS PURSUANT TO
                          11 U.S.C. § 550

        24.    Restates its responses to the cross-referenced allegations in paragraphs 1-

24 of the Answer.

        25.    Denies Paragraph 30.

        26.    Denies Paragraph 32.

        27.    Denies Paragraph 32.

    COUNT V – TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502(d)

        28.    Restates its responses to the cross-referenced allegations in paragraphs 1-

28 of the Answer.

        29.    Denies Paragraph 34.

        30.    Denies Paragraph 35.

        31.    Denies Paragraph 36.

                                       COUNT VI

        32.    Restates its responses to the cross-referenced allegations in paragraphs 1-

32 of the Answer.

        33.    Denies that there was any violation of the automatic stay or overcharge by

Valdese for any good sold and delivered to the Debtors further avers that Paragraph 38

and 39 each call for a legal conclusion for which no response is required and otherwise

denies knowledge or information sufficient to form a belief as to the contents of the

Debtors’ books and records.




                                             5

5719569-1
   Case 8-20-08140-reg         Doc 9     Filed 02/16/21     Entered 02/16/21 14:04:31




                     DEFENDANT’S AFFIRMATIVE DEFENSES

        Defendant claims, alleges the following affirmative defenses, without admitting

any of the allegations of the Complaint:

                                 First Affirmative Defense

        The Complaint fails to state a claim against Defendant upon which relief may be

granted.

                               Second Affirmative Defense

        Plaintiff’s claims are barred by the applicable statute of limitations and/or

administrative filing periods and/or by failure to satisfy the statutory and administrative

prerequisites to the bringing of Plaintiff’s claims.

                                Third Affirmative Defense

        Defendant acted in good faith and its conduct was in conformity with all

applicable statutes, governmental regulations, and industry standards during the time

period at issue in the Complaint.

                               Fourth Affirmative Defense

        The Defendant gave reasonably equivalent value to the Debtors to the extent of

any transfer made by or on behalf of the Debtors to the Defendant and acted in good faith

in connection therewith.

                                 Fifth Affirmative Defense

        Any transfers made by the Debtors or on their behalf to the Defendant was (A)

intended by the Debtors and the Defendant to be a contemporaneous exchange for new

value given to the Debtors; and (B) was in fact a substantially contemporaneous

exchange. See Exhibit “A” to this Answer that attaches the list of goods and merchandise


                                              6

5719569-1
   Case 8-20-08140-reg        Doc 9    Filed 02/16/21    Entered 02/16/21 14:04:31




received by the Debtors that exceed any of the payments received by the Defendant here

during the Preference Period. Copies of the invoices, bills of lading and warehouse

receipts were provided to Counsel for the Plaintiff.



                               Sixth Affirmative Defense

        That within the 90 days of the Bankruptcy Filing, Valdese shipped merchandise to

the Debtors that the Debtors received in the reclamation period in excess of any of the

payments received by Valdese with the Preference period. These qualify as a new value

and contemporaneous exchanges under Section 547(c)(2) and (c) (4) of the Bankruptcy

Code. Copies of the timely filed reclamation was provided as wells as copies the

invoices, bills of lading and proofs of deliveries were all provided to Counsel for the

Plaintiff.

                              Seventh Affirmative Defense

        Any transfers made by or on behalf of the Debtors to the Defendant, to the extent

made upon a debt, was in payment of a debt incurred by the Debtors in the ordinary

course of business or financial affairs of the Debtors and the Defendant, and such

transfers were made in the ordinary course of business or financial affairs of the Debtors

and the Defendant.

                               Eight Affirmative Defense

        After any transfer for which Plaintiff seeks recovery from the Defendant, the

Defendant gave new value to or for the benefit of the Debtors (A) not secured by an

otherwise unavoidable security interest; and (B) on account of which new value the




                                             7

5719569-1
   Case 8-20-08140-reg         Doc 9     Filed 02/16/21     Entered 02/16/21 14:04:31




Debtors did not make an otherwise unavoidable transfer to or for the benefit of the

Defendant.

                                Ninth Affirmative Defense

        Plaintiff’s claims were not properly transferred from the applicable Debtor to the

Plaintiff.

                                Tenth Affirmative Defense

        Plaintiff lacks standing to bring this action.

                               Eleventh Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, by the doctrines of laches,

waiver, estoppel, and/or unclean hands.

                               Twelfth Affirmative Defense

        Plaintiff is barred in whole or in part from recovering any damages by virtue of

Plaintiff’s and/or the Debtors’ failure to exercise reasonable diligence to mitigate its

alleged damages.

                              Thirteenth Affirmative Defense

        Because no discovery has been taken at this stage of the case, Defendant reserves

the right to supplement these affirmative defenses.

                       DEFENDANT’S JURY TRIAL DEMAND

        Pursuant to the Seventh Amendment of the United States Constitution and Rule

38(b) of the Federal Rules of Civil Procedure made applicable by Rule 9015(a) of the

Federal Rules of Bankruptcy Procedure, Defendant hereby demands a trial by jury on all

issues so triable.




                                               8

5719569-1
   Case 8-20-08140-reg       Doc 9    Filed 02/16/21     Entered 02/16/21 14:04:31




                               PRAYER FOR RELIEF

        WHEREFORE, Defendant requests that the Court order the following relief:

               (a)    That Plaintiff takes nothing by its Complaint;

               (b)    Dismiss Plaintiff’s Complaint with prejudice;

              (c)       Award Defendant its costs, including reasonable attorneys’ fees in
responding to Plaintiff’s wrongfully instituted lawsuit; and

               (d)    For such other relief as this Court may deem proper.



Dated: February 16, 2021
       New York, New York
                                                 OLSHAN FROME WOLOSKY LLP


                                                 By:    /s/ Michael S. Fox
                                                        Michael S. Fox, Esq.
                                                        1325 Avenue of the Americas
                                                        New York, New York 10019
                                                        Attorney for Valdese Weaves LLC




                                            9

5719569-1
